           Case 2:07-cr-00213-LKK Document 25 Filed 07/23/07 Page 1 of 2


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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-07-213 LKK
12               Plaintiff,           )
                                      )   ORDER CONTINUING STATUS
13        v.                          )   CONFERENCE
                                      )
14   BERNARD SIROKMAN, et. al,        )
                                      )
15               Defendants.          )
                                      )
16
17        This matter came before the Court for a change of plea as to
18   all defendants on July 3, 2007, at 9:30 a.m.        Assistant U.S.
19   Attorney Michael Beckwith represented the United States, Caro
20   Marks made a special appearance for Lexi Negin on behalf of
21   Bernard Sirokman, Timothy Warriner appeared on behalf of
22   Christian Crowley, and C. Emmet Mahle appeared on behalf of Tina
23   Crowley.    All defendant’s were present in court and out of
24   custody.
25        One of the defendant’s was not prepared to enter a plea on
26   that day.   The parties now anticipate a change of plea on as to
27   all defendants on August 14, 2007, and asked for the time between
28   July 3, 2007, and August 14, 2007, to review and consider their

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              Case 2:07-cr-00213-LKK Document 25 Filed 07/23/07 Page 2 of 2


 1   agreements and make appropriate arrangements.           Mr. Warriner also
 2   indicated that he would like more time to investigate his
 3   client’s criminal record and how it may effect sentencing in this
 4   case.
 5           Based upon the party’s representations, the Court set a
 6   status conference and possible change of plea hearing for August
 7   14, 2007, at 9:30 a.m.       The Court ordered that time be excluded
 8   time under 18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4
 9   (reasonable time to prepare) as to defendant Christian Crowley,
10   and that time be excluded as to the other two defendants under 18
11   U.S.C. § 3161(h)(7); Local Code R (reasonable periods of delay in
12   cases with unsevered defendants).         The Court directed government
13   counsel to prepare a formal order.
14           IT IS HEREBY ORDERED:
15           1.   A status conference and possible change of plea hearing
16   is set for August 14, 2007, at 9:30 a.m., for all defendants.
17           2.   Based on the party’s representations, the Court finds
18   that the ends of justice outweigh the best interest of the public
19   and defendants in a speedy trial.         Accordingly, time under the
20   Speedy Trial Act shall be excluded through August 14, 2007.
21
22           IT IS SO ORDERED
23
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25   Date: July 23, 2007
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